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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


KATHY RICHBURG, ADRIANA                  CASE NO. 1:22-cv-2420
GAMBOA, JEFFREY KOENIG, and
CINDY MCGLONE, individually and on CLASS ACTION COMPLAINT
behalf of all others similarly situated,
                                         JURY TRIAL DEMANDED
Plaintiffs,

       v.

CONAGRA BRANDS, INC.

       Defendant,




                                CLASS ACTION COMPLAINT

       Plaintiffs Kathy Richburg, Adriana Gamboa, Jeffrey Koenig, and Cindy McGlone

(“Plaintiffs”) individually and on behalf of all others similarly situated, bring this Class Action

Complaint against Defendant Conagra Brands, Inc. (“Conagra” or “Defendant”) and allege the

following based on personal knowledge as to themselves, and as to all other matters, upon

information and belief, including investigation conducted by their attorneys.

                                  NATURE OF THE ACTION

       1.      This action concerns Conagra’s false and misleading labeling of its Orville

Redenbacher’s® microwave popcorn products (“PFAS Popcorn” or “Products”)1, which are

prominently labeled as containing “only real ingredients” and “100% ingredients from natural




1
  The action concerns varieties of Orville Redenbacher’s® microwave popcorn products, which,
based on information and belief, utilize a substantially similar (if not identical) microwave popping
bag. As alleged herein, Conagra conceals the inclusion of PFAS in its Products from consumers.
Accordingly, discovery will reveal the exhaustive list of substantially similar Products that are
included in this action.
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sources,” when, in fact, Plaintiffs’ testing has revealed the Products contain per- and

polyfluoroalkyl substances (“PFAS”). .

       2.      Conagra formulates, manufactures, markets and sells the Products, which it

uniformly represents as containing “only real ingredients,” including “100% ingredients from

natural sources.”2




2
 Image available from authorized retailer Amazon:
https://www.amazon.com/dp/B00BKUULEO?ref_=cm_sw_r_cp_ud_dp_SHGMNNHA8TS891
KC6JMR


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         3.     As one of North America’s leading packaged food manufacturers, with products in

97% of America’s households, Conagra knows the importance of marketing and labeling and the

value of the label representations it carefully chooses for placement on its products.

         4.     Conagra intentionally uses the words “natural” and “real” to describe the source of

its Products’ ingredients. “Natural” is defined as “found in nature and not involving anything made

or done by people,”3 “not having any extra substances or chemicals added,” and “not containing

anything artificial.”4

         5.     “Real”      is      defined       as      “produced using traditional methods and

without artificial substances”5 and “not fake, false, or artificial”6 and thus likewise confirms for

reasonable consumers that the Products will be free from ingredients that are artificial or human-

made.

         6.     Reasonable consumers, therefore, fairly and reasonably understand that a product

marketed as containing “100% ingredients from natural sources” and “only real ingredients”

would not contain human-made chemicals, let alone human-made chemicals known to be harmful.

         7.     However, despite Conagra’s consistent and pervasive marketing of the Products as

only containing natural and real ingredients, the Products actually contain significant levels of

PFAS chemicals—a category of human-made chemicals with a toxic, persistent, and

bioaccumulative nature which are associated with numerous health concerns.

         8.     Conagra knows that consumers are concerned with the ingredients in their food.

Thus, Conagra has intentionally utilized its marketing, centering on its use of only “natural” and




3
  https://dictionary.cambridge.org/us/dictionary/english/natural
4
  https://www.britannica.com/dictionary/natural
5
  https://dictionary.cambridge.org/us/dictionary/english/real
6
  https://www.britannica.com/dictionary/real


                                                 3
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“real” ingredients, to drive sales and increase profits, including by targeting health-conscious

consumers who reasonably believe that the Products are free from unnatural or artificial

ingredients like harmful human-made chemicals.

       9.      The presence of PFAS chemicals in the Products is entirely inconsistent with

Conagra’s uniform representations and renders them “unnatural” and not “real” by definition.

       10.     As a result of Conagra’s misconduct, Plaintiffs and putative Class Members have

suffered injury in fact, including economic damages.

       11.     Plaintiffs bring this suit to halt Conagra’s dissemination of false and misleading

representations and to correct the false and misleading perception that Conagra’s representations

have created in the minds of reasonable consumers.

       12.     Plaintiffs seek damages, injunctive relief, and other equitable remedies for

themselves and for the proposed classes.

                                 JURISDICTION AND VENUE

       13.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332 of the Class Action Fairness Act of 2005 because: (1) there are 100 or more putative

Class Members; (ii) the aggregate amount in controversy exceeds $5,000,000.00, exclusive of

interest and costs; and (iii) there is minimal diversity because at least one Plaintiff and Defendant

are citizens of different states. This Court has supplemental jurisdiction over Plaintiffs’ state law

claims pursuant to 28 U.S.C. § 1367.

       14.     This Court has personal jurisdiction over Defendant because it is headquartered

in this District, has substantial aggregate contacts with this District, including engaging in

conduct that has a direct, substantial, reasonably foreseeable, and intended effect of causing




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injury to persons throughout the United States, and purposely availed itself of the laws of the

United States and the States of Illinois.

         15.   In accordance with 28 U.S.C. § 1391, venue is proper in this District because a

substantial part of the conduct giving rise to Plaintiffs’ claims occurred in this District,

Defendant transacts business in this District, and Defendant has intentionally availed itself of

the laws and markets within this District.

                                             PARTIES

         16.   At all relevant times, Plaintiff Kathy Richburg has resided in Cook County,

Illinois.

         17.   At all relevant times, Plaintiff Adriana Gamboa has resided in Los Angeles

County, California.

         18.   At all relevant times, Plaintiff Jeffrey Koenig has resided in Orange County, New

York.

         19.   At all relevant times, Plaintiff Cindy McGlone has resided in Clay County,

Florida.

         20.   Conagra Brands, Inc. is incorporated in Delaware with its principal place of

business located at 222 W. Merchandise Mart Plaza, Suite 1300, Chicago, Illinois.

                                  FACTUAL ALLEGATIONS

Orville Redenbacher’s® Microwave Popcorn Products

         21.   Microwave popcorn is a popular snack item enjoyed by millions of consumers.

Since it was first introduced in the 1980s, it has made up a significant portion of the snack food

market. As the COVID-19 pandemic forced millions of Americans to spend more time at home,




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the microwave popcorn industry increased nearly 15% percent, making it a $1.0 billion dollar

category of the snack food industry.7

       22.     Popcorn is popular for a variety of reasons, but its relative healthfulness is chief

among them. Popcorn is a whole-grain that is naturally low in fat and calories, sugar-free, and

gluten-free, making it a good fit for a variety of diets and health-conscious lifestyles.8

       23.     The Products at issue are microwave popcorn products sold under the Orville

Redenbacher’s® brand name. The Orville Redenbacher’s® brand is owned by Conagra and is one

of the most widely recognized and top-selling microwave popcorn brands in the United States.

       24.     The Products are sold in numerous varieties including, but not limited to, Ultimate

Butter, Movie Theater Butter, Kettle Korn, SmartPop!, and Tender White.

       25.     The Products are sold at mass market retailers and grocery stores throughout the

United States, including Target, Walmart, Publix, Meijer’s, and Walgreens, as well as authorized

online retailers such as Amazon.

       26.     Microwave popcorn, including the Products at issue in this case, is prepared by

heating a specially designed bag that contains unpopped popcorn kernels and any additional

additives, such as butter and salt. The bag is placed directly in the microwave where the heat from

cooking pops the kernels, creating the finished popcorn product.

       27.     Based on information and belief, all of the Products utilize a substantially similar,

if not identical, microwave popping bag.

Defendant’s False and Deceptive Advertising



7
  Popcorn Sales Pop Off With Rise In At-Home Consumption Occasions, Gifting, CANDY &
SNACK TODAY, https://candyusa.com/cst/popcorn-sales-pop-off-with-the-rise-of-at-home-
consumption-occasions-gifting/ (Last accessed March 22, 2022).
8
  All About Popcorn, POPCORN.ORG, https://www.popcorn.org/All-About-Popcorn/Our-Story
(Last accessed March 22, 2022).


                                                  6
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       28.     Conagra uniformly represents the Products as a food that is made with “Only Real

Ingredients” and “100% ingredients from natural sources” (collectively, “Natural Ingredient

Representations”).

       29.     The Natural Ingredient Representations appear prominently on the front9 and

sides10 of the Products’ packaging:




9

https://www.amazon.com/dp/B076K6MS3V?ref_=cm_sw_r_cp_ud_dp_WRPT0R4H96G5HXH
690R7
10
   https://www.festfoods.com/shop/?id=4584773&n=orville-redenbacher-s-gourmet-popping-
corn-butter-single-serve-mini-bags-12-ct


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       30.     The Natural Ingredient Representations also appear on the Products’ individual

microwave bags11, where they are conspicuously displayed next to important microwave

instructions and safety warnings:




11

https://www.amazon.com/dp/B000CSRBXY?ref_=cm_sw_r_cp_ud_dp_PT034BB599AZKMZ7
T9S9


                                              9
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         31.    The Natural Ingredient Representations are central to Conagra’s marketing and sale

of its Products and are strategically employed to convince consumers that the Products are free of

unnatural or artificial ingredients, including toxic human-made ingredients.

         32.    Conagra corroborates its label statements on its website by featuring images of

these boxes with the Natural Ingredient Representations. For example, the Popcorn’s website

displays the following12:




         33.    Conagra also promotes its PFAS Popcorn on its social media accounts by posting

images of the Products’ boxes, which contain the Natural Ingredient Representations13:




12
     https://www.orville.com/buttery-popcorn (Last accessed April 12, 2022).
13
     https://www.instagram.com/p/CR13EzTN8zu/ (Last accessed April 12, 2022).


                                                10
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       34.     Further, Conagra is intentional in its design of the Natural Ingredient

Representations. Conagra admits that it purposefully designs its product labeling as “simple

enhancements” designed to entice health-conscious consumers by helping them “make better-

informed food choices to improve their diet and health.”14

       35.     Conagra’s focus on its “real” and “natural” labeling carries through all aspects of

its marketing. Conagra uses “SmartLabel” – an online resource that provides consumers with

detailed information on products’ ingredients and other attributes.15

       36.     For example16:




14
   https://www.conagrabrands.com/our-company/overview/company-milestones (Last accessed
April 13, 2022).
15
    https://www.smartlabel.org/faq
16
    https://smartlabel.labelinsight.com/product/6376409/other/claims (Last accessed April 6,
2022).


                                                11
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          37.    Conagra also spotlights its “free from” product attributes on the Products’ boxes

and its online marketing of the Products, in an effort to bolster its Natural Ingredient Claims17:




          38.    Conagra is well aware that the future success of its business is dependent on its

ability to meet consumer demand for food products that exclude ingredients which are known or

suspected to be harmful to human health. In assessing potential risks to its sales and profits,

Conagra has acknowledged that “[h]ealth care issues facing the United States and health-

conscious consumer expectations have put increasing pressure on the food industry to constantly




17
     https://www.orville.com/ (Last accessed April 6, 2022).


                                                 12
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evaluate the nutritional profiles of its products. If our products fail to keep up with health trends

and consumer expectations, our business performance may be negatively impacted.”18

       39.      Conagra is also aware that its business could be affected by consumer concerns or

perceptions regarding the health effects of certain product ingredients. 19 Accordingly, Conagra’s

brand portfolio—and more importantly, its marketing of those brands—has evolved to satisfy

changing food preferences, such as demand for products that eliminate unnatural, human-made, or

toxic chemicals.

       40.      To further distinguish itself from its competitors in its effort to appeal to health-

conscious consumers, and to garner the trust of those consumers, Conagra has also engaged in a

public relations campaign in which it represents itself as being transparent about the ingredients in

its products:




       Image 2.20




18
   https://www.conagrabrands.com/sites/g/files/qyyrlu371/files/2016-
10/ConAgra%20Corporate%20Responsibility%20Report_2011.pdf (Last accessed April 14,
2022).
19
    https://www.sec.gov/ix?doc=/Archives/edgar/data/0000023217/000156459021037738/cag-
10k_20210530.htm
20
   https://www.conagrabrands.com/citizenship-reports/conagra-brands-citizenship-report-2021
(Last accessed April 14, 2022).


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       41.     Conagra claims to “take food safety seriously every step of the way—from

sourcing safe ingredients, to implementing appropriate shipping and storage, to packaging our

food with clear and safe directions for microwave preparation.” 21

PFAS Chemicals and Associated Risks

       42.     PFAS are a category of highly persistent and potentially harmful human-made

chemicals.22

       43.     PFAS are not naturally occurring.23 They were first developed by scientists in the

1940s.24 Thus, they are indisputably “unnatural” and not “real.”

       44.     The human-made PFAS chemicals, which are in the PFAS Popcorn, are sometimes

called “forever chemicals” because they bioaccumulate, or build up in the body over time.

       45.     Diet is considered a major route of PFAS exposure for humans, and reasonable

consumers purchasing products represented as natural would not expect them to contain harmful

human-made chemicals, such as PFAS .25

       46.     PFAS chemicals have been associated with a variety of negative health effects for

humans and the environment. The health risks associated with PFAS include, but are not limited

to, decreased male and female fertility, negative developmental effects or delays in children,

increased risk of cancers, liver damage, asthma and thyroid disease, adverse impacts on the

immune system, interference with hormones and increased cholesterol levels.26



21
   https://www.conagrabrands.com/our-company/corporate-social-responsibility/food-safety
(Last accessed April 14, 2022).
22
   PFAS Explained, EPA, https://www.epa.gov/pfas/pfas-explained (last visited Nov. 27, 2021).
23
   https://www.atsdr.cdc.gov/pfas/resources/pfas-faqs.html
24
   https://www.3m.com/3M/en_US/pfas-stewardship-us/pfas-history/
25
   Dietary Habits Related to Food Packaging and Population Exposure to PFASs,
Environmental Health Perspectives, https://ehp.niehs.nih.gov/doi/full/10.1289/EHP4092
26
   See https://www.epa.gov/pfas/our-current-understanding-human-health-and-environmental-
risks-pfas; 26 Center for Disease Control and Prevention Agency for Toxic Substances and


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        47.        According to the Environmental Protection Agency, limiting exposure to PFAS can

help protect individual health. “Because certain PFAS are known to cause risks to human health,

the most important steps you and your family can take to protect your health is to understand how

to limit your exposure to PFAS by taking [steps to] reduce possible exposure during daily

activities.”27

        48.        Because PFAS accumulates in body tissues over time, the most obvious way to

avoid exposure is for consumers to avoid products which they know contain PFAS.28

        49.        Conagra is well aware of this, which is exactly why it has engaged in an

aggressive, uniform marketing campaign intended to convince consumers that the Products are

natural and real.

        50.        Conagra has engaged in this uniform marketing campaign in an effort to convince

reasonable consumers to believe that the Products are superior to other products that are not

natural or real.

        51.        Reasonable consumers purchasing the Products would believe, based on

Conagra’s natural and real representations, that the Products do not contain unnatural or human-

made chemicals that could adversely impact their health.




Disease Registry, What are the health effects of PFAS?, U.S. DEPT. OF HEALTH AND HUMAN
SERVS., https://www.atsdr.cdc.gov/pfas/health-effects/index.html (last visited Nov. 27, 2021);
Liza Gross, These Everyday Toxins may be Hurting Pregnant Women and Their Babies, N.Y.
TIMES (Sept. 23, 2020, updated Oct. 18, 2021)
https://www.nytimes.com/2020/09/23/parenting/pregnancy/pfas-toxins-chemicals.html.
27
   https://www.epa.gov/pfas/meaningful-and-achievable-steps-you-can-take-reduce-your-risk
28
   https://www.healthline.com/health-news/how-to-reduce-your-exposure-to-pfas-the-hidden-
toxic-forever-chemicals#How-to-limit-PFAS-exposure


                                                   15
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PFAS Use in Microwave Popcorn Bags

       52.    Food contact materials, such as wrappers and packaging, are often treated with

PFAS to increase water and grease resistance and enhance the material’s non-stick properties.29

PFAS can also help ingredients from leaking out of their packaging.30

       53.    The use of PFAS chemicals in food contact materials is concerning because studies

have confirmed that PFAS migrates to food, where it is then ingested by consumers. 31

       54.    Compared with other types of materials that come into contact with food,

microwave popcorn bags have among the highest concentrations of PFAS chemical migration. 32

       55.    In fact, studies show that consumption of microwave popcorn is associated with

higher PFAS chemical levels in humans as a direct consequence of PFAS migration from

microwave popcorn bags; furthermore, consuming microwave popcorn creates significantly higher

exposure to PFAS in humans than other foods that come into contact with packaging materials

containing PFAS.33

       56.    Part of the reason that microwave popcorn creates a unique risk of PFAS exposure

to humans is due to the fact that PFAS chemical migration increases with higher temperatures,




29
   https://saferchemicals.org/wp-
content/uploads/2018/12/saferchemicals.org_take_out_toxics_pfas_chemicals_in_food_packagin
g.pdf?x15132 (Last accessed April 21, 2022).; See also Begley TH, Hsu W, Noonan G,
Diachenko G. Migration of fluorochemical paper additives from food-contact paper into foods
and food simulants. Food Addit Contam Part A Chem Anal Control Expo Risk Assess. 2008
Mar;25(3):384-90. doi: 10.1080/02652030701513784. PMID: 18311629.
30
   https://ehp.niehs.nih.gov/doi/full/10.1289/EHP4092
31
   Migration of fluorochemical paper additives from food-contact paper into foods and food
simulants, Food Additives & Contaminants, https://doi.org/10.1080/02652030701513784
32
   Dietary Habits Related to Food Packaging and Population Exposure to PFASs,
Environmental Health Perspectives, https://ehp.niehs.nih.gov/doi/full/10.1289/EHP4092
33
   Presence of Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS) in Food Contact Materials
(FCM) and Its Migration to Food - PMC (nih.gov)


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longer contact time with the treated packaging, and the presence of emulsifiers. 34 All of these

factors are present when preparing popcorn.

       57.    Studies have shown that oil containing even small amounts of an emulsifier—as is

present in the Products35—can significantly enhance migration of a fluorochemical from paper.36

Additionally, studies have shown that salt—also present in the Products—increases the migration

of PFAS chemicals to food.37

       58.    Studies have also found that PFAS chemicals are in the vapors from cooked

microwave popcorn bags, indicating the potential for inhalation exposure when the bags are

opened by consumers.38

Plaintiffs’ Independent Testing Confirms the Presence of PFAS Chemicals in the Products

       59.    Plaintiffs sought independent third-party testing to determine whether the Products’

bags contain PFAS chemicals.

       60.    Plaintiffs’ independent testing was conducted in accordance with accepted industry

standards for detecting whether the Products contain organic fluorine, which is a surrogate for

PFAS chemicals.




34
   Dietary Habits Related to Food Packaging and Population Exposure to PFASs | Environmental
Health Perspectives | Vol. 127, No. 10 (nih.gov)
35
   Based on information and belief, Conagra uses palm oil as an emulsifier in its Products. See
https://productswithoutpalmoil.com/palm-oil-uses-what-is-palm-oil-used-
for/#Why_palm_oil_is_used_in_food
36
   Migration of fluorochemical paper additives from food-contact paper into foods and food
simulants, Food Additives & Contaminants, https://doi.org/10.1080/02652030701513784
37
   Presence of Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS) in Food Contact Materials
(FCM) and Its Migration to Food, Foods.,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8306913/
38
   Dietary Habits Related to Food Packaging and Population Exposure to PFASs,
Environmental Health Perspectives, https://ehp.niehs.nih.gov/doi/full/10.1289/EHP4092


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       61.      There are more than 12,000 PFAS chemicals currently in existence.39 Accordingly,

it is impractical, if not impossible, for scientists and researchers to test for the presence of each of

these 12,000 chemicals in any particular sample.

       62.      The presence of organic fluorine in a sample, however, indicates the sample

contains PFAS, and is therefore a widely-accepted method of determining whether a sample

contains PFAS.

       63.      Here, Plaintiffs’ testing detected the presence of 835 ppm of organic fluorine in

the Products.

       64.      By way of comparison, this is more than eight times the state of California’s

allowable limit for PFAS in certain types of food packaging (effective January 1, 2023), and

therefore represents a significant level of PFAS.40

       65.      Plaintiffs’ testing demonstrates that the Products contain significantly high levels

of unnatural, human-made PFAS chemicals in the Products in direct opposition to Conagra’s

uniform representations.

Defendant’s Unlawful Conduct

       66.      At all times relevant to this action, Conagra has been aware that its Products utilize

PFAS chemicals to create grease resistance and/or enhance non-stick properties when cooking

popcorn.




39
  https://comptox.epa.gov/dashboard/chemical-lists/pfasmaster (Last accessed April 11, 2022).
40
 https://leginfo.legislature.ca.gov/faces/codes_displaySection.xhtml?lawCode=HSC&sectionNu
m=109000.&article=1.&highlight=true&keyword=pfas


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        67.     Since at least January 2006, Conagra has acknowledged to the public that it sells

microwave popcorn in packaging coated with PFAS, including in a January 31, 2006 article in the

Wall Street Journal.41

        68.     Since at least 2006, shareholders have urged Conagra’s Board of Directors to

consider eliminating the use of PFAS in its food packaging, including in the PFAS Popcorn.42

        69.     Since at least 2006, consumers have expressed concern about the use of PFAS in

the Products, including by sending more than 13,500 personal letters to grocery store managers

which asked grocery stores to discontinue the sale of food utilizing PFAS in its packaging,

including the Products at issue here. Conagra was aware of this grass roots campaign, which was

organized by advocacy group Ohio Citizen Action, and responded by issuing a cease-and-desist

letter to the organization.43

        70.     To capitalize on increasing consumer demand for products free from artificial

ingredients, including harmful human-made chemicals like PFAS, Conagra has knowingly and

willfully deployed a concerted strategy to distinguish its Products from competing options in the

highly competitive snack industry by representing its PFAS Popcorn as a product free from

artificial ingredients.

        71.     Throughout the class period, Conagra has targeted health-conscious consumers by

falsely and misleadingly representing its Products are only made with “natural” and “real”

ingredients. Consequently, reasonable consumers believe the Popcorn is free of unnatural,

human-made chemicals.




41
   https://www.wsj.com/articles/SB113867354944860566
42
   https://iehn.org/resources/resolution/conagra-pfoa-related-chemicals-in-product-packaging
43
   https://www.healthandenvironment.org/partnership_calls/363


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       72.     Conagra’s strategy to stay aligned with consumer preferences in order to retain a

competitive advantage in the marketplace, which includes representing to sell products which

only contain natural and real ingredients, would inevitably be negatively impacted if it disclosed

the presence of PFAS in its Products.

       73.     Further, Conagra’s claims touting its bona fides as a company dedicated to natural,

clean products and sustainability, in conjunction with its conspicuous representations pertaining

to the Products’ other attributes that consumers associate with products free from artificial

ingredients, further contribute to the reasonable consumer perception and belief that the Products

contain only natural ingredients and are free of human-made chemicals.

       74.     Consumers lack the expertise to ascertain the true ingredients in Conagra’s

Products prior to purchase. Accordingly, reasonable consumers must, and do rely on Conagra to

accurately and honestly advertise its Products’ ingredients as real and natural, and not contradict

those representations by using unnatural human-made chemicals in its Products that are known

to contaminate food upon cooking and which pose a risk to human health. Such

misrepresentations are material to reasonable consumers’ purchasing decisions.

       75.     Conagra’s representations that the Products are natural and real, including inter

alia, the Natural Ingredient Representations described herein, are false because products

containing toxic, human-made ingredients like PFAS are unnatural and not real by definition.

       76.     Conagra’s Natural Ingredient Representations are likely to mislead reasonable

consumers, and indeed did mislead Plaintiffs and Class members regarding the presence of PFAS

chemicals in its Products. Accordingly, these acts and practices by Conagra are deceptive.

       77.     Customers reasonably relied on Conagra’s false statements and misleading

representations, and reasonably expected that Conagra’s Products would conform with its Natural




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Ingredient Representations and, as such, would not contain unnatural, human-made PFAS

chemicals.

       78.     Conagra’s false statements, misleading representations and material omissions are

intentional, or otherwise entirely careless, and render its Products worthless or less valuable.

       79.     Plaintiffs purchased the Products because they wanted microwave popcorn that

did not contain artificial ingredients or chemical ingredients not from natural sources.

       80.     If Conagra had disclosed to Plaintiffs and putative Class Members that its Popcorn

contained PFAS chemicals, Plaintiffs and putative Class Members would not have purchased

Conagra’s PFAS Popcorn or they would have paid less for the products.

       81.     Plaintiffs and Class Members were among the intended recipients of Conagra’s

deceptive representations and omissions described herein.

       82.     Conagra’s representations and omissions, as described herein, are material in that

a reasonable person would attach importance to such information and would be induced to act

upon such information in making purchase decisions.

       83.     The materiality of the representations described herein also establishes causation

between Conagra’s conduct and the injuries Plaintiffs and the Class Members sustained.

       84.     Alternative formulations, designs and materials for enhancing grease control and

non-stick properties were available to Conagra at the time it formulated, designed and

manufactured its PFAS Popcorn Products, and such alternative formulations and designs were

and are used by other manufacturers to produce and sell natural, PFAS-free microwave popcorn.

These alternatives include greaseproof vegetable parchment paper and non-fluorinated coatings




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using aqueous dispersions of waxes, starch, or cellulose gum. 44 In fact, studies have shown that

most PFAS alternatives in food packaging are cost-neutral for retailers.45

       85.     Dating back to at least 2006, Conagra committed to study alternatives to eliminate

PFAS in the Products’ packaging, but based on information and belief, has failed to implement

any significant changes.46

       86.     Conagra is aware that the consumers, including its own shareholders, are concerned

about the use of PFAS in its Products, yet it has continued to market and advertise its Products

using the Natural Ingredient Representations in order to profit off of unsuspecting consumers,

including Plaintiffs and Class Members.

       87.     The presence of PFAS chemicals in Conagra’s Products is entirely inconsistent

with its Natural Ingredient Representations.

       88.     Conagra’s knowingly false and misleading Natural Ingredient Representations

have the intended result of convincing reasonable consumers that its Products are made from

only “real” and “natural” ingredients and therefore do not contain unnatural, human-made toxic

chemicals. No reasonable consumer would consider Conagra’s Products as containing only

natural or real ingredients if they knew that the Products’ packaging contained harmful,

unnatural, human-made PFAS chemicals which migrate into and contaminate the Product when

following Conagra’s cooking instructions.


44
   Ramírez Carnero A, Lestido-Cardama A, Vazquez Loureiro P, Barbosa-Pereira L, Rodríguez
Bernaldo de Quirós A, Sendón R. Presence of Perfluoroalkyl and Polyfluoroalkyl Substances
(PFAS) in Food Contact Materials (FCM) and Its Migration to Food. Foods. 2021; 10(7):1443.
https://doi.org/10.3390/foods10071443

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  https://norden.diva-portal.org/smash/get/diva2:1201324/FULLTEXT01.pdf
46
  https://www.sehn.org/sehn/news-release-toxics-in-your-portfolio-companies-facing-
shareholder-resolutions-on-chemical-risks-in-products-jump-from-just-three-in-04-05-to-17-in-
06-07


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       89.     Conagra’s false, misleading, and deceptive representations, as described herein,

are likely to continue to deceive and mislead reasonable consumers and the general public.

Indeed, they have already deceived and misled Plaintiffs and Class Members.

       90.     In making the false, misleading, and deceptive representations, Conagra knew and

intended consumers would pay a premium for the Products over comparable products that are

not made from naturally sourced or real ingredients.

       91.     Plaintiffs and Class Members all paid money for the Products, however, they did

not obtain the full value of the advertised Products due to Conagra’s misrepresentations as

detailed herein. Plaintiffs and Class Members purchased, purchased more of, or paid more for,

the Products than they would have had they known the truth about the Products’ unnatural,

human-made, and harmful ingredients. Thus, Plaintiffs and Class Members have suffered injury

in fact and lost money or property as a result of Conagra’s wrongful conduct.

       92.     Conagra’s widespread marketing campaign portraying the Products as only

containing ingredients from “natural sources” and otherwise representing them to be natural and

real as detailed herein, is misleading and deceptive to consumers because the Products are made

with unnatural, human-made, and toxic ingredients. Plaintiffs bring this action on behalf of the

proposed Classes to stop Conagra’s misleading practices.

Plaintiffs’ Individual Facts

       Plaintiff Richburg’s Purchase of the Products

       93.     Plaintiff Richburg is a citizen of Illinois and resides in Cook County.

       94.     For two years or more during the Class Period, Plaintiff Richburg purchased

Conagra’s Products in Illinois and Indiana.




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       95.     In or around September 2021, Plaintiff Richburg most recently purchased

Conagra’s Tender White – Gourmet White Corn Blended with Real Butter at a Walmart located

in Crestwood, Illinois.

       96.     In or around December 2021, Plaintiff Richburg most recently purchased

Conagra’s Tender White – Gourmet White Corn Blended with Real Butter at a Walmart located

in Hammond, Indiana.

       97.     Plaintiff Richburg purchased the Products roughly every three to four months.

       98.     Prior to purchasing the Products, Richburg reviewed the Products’ labels and relied

on Conagra’s Natural Ingredient Representations thereon.

       99.     In reasonable reliance on the Natural Ingredient Representations, Plaintiff Richburg

paid an increased cost for the Products, which were worth less than represented because the

statements were not true and were highly misleading.

       100.    Conagra’s Natural Ingredient Representations were part of the basis of the bargain

in that Plaintiff Richburg attributed value to Conagra’s representations and Plaintiff Richburg

would not have purchased the Products, or would not have purchased them on the same terms, if

she knew the Natural Ingredient Representations were untrue and/or misleading.

       101.    Plaintiff Richburg paid a price premium for empty promises that the Products were

free of harmful chemicals. Should Plaintiff Richburg encounter any of the Products in the future,

she cannot rely on the truthfulness of the labels’ statements absent corrective advertising. If

Conagra takes corrective action to ensure the truthfulness of the Natural Ingredient

Representations and/or correct the Products’ labels, Plaintiff Richburg would consider buying the

Products in the future.




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Plaintiff Gamboa’s Purchase of the Product

       102.    Plaintiff Gamboa is a citizen of California and resides in Los Angeles County.

       103.    For two years or more during the Class Period, Plaintiff Gamboa purchased

Conagra’s Products in California.

       104.    In or around February 2022, Plaintiff Gamboa most recently purchased Conagra’s

Movie Theatre Butter Microwave Popcorn at a Walmart located in La Mirada, California.

       105.

       106.    Plaintiff Gamboa purchased the Products roughly every two to three months.

       107.    Prior to purchasing the Products, Gamboa reviewed the Products’ labels and relied

on Conagra’s Natural Ingredient Representations thereon.

       108.    In reasonable reliance on the Natural Ingredient Representations, Plaintiff Gamboa

paid an increased cost for the Products, which were worth less than represented because the

statements were not true and were highly misleading.

       109.    Conagra’s Natural Ingredient Representations were part of the basis of the bargain

in that Plaintiff Gamboa attributed value to Conagra’s representations and Plaintiff Gamboa would

not have purchased the Products, or would not have purchased them on the same terms, if she

knew the Natural Ingredient Representations were untrue and/or misleading.

       110.    Plaintiff Gamboa paid a price premium for empty promises that the Products were

free of harmful chemicals. Should Plaintiff Gamboa encounter any of the Products in the future,

she cannot rely on the truthfulness of the labels’ statements absent corrective advertising. If

Conagra takes corrective action to ensure the truthfulness of the Natural Ingredient

Representations and/or correct the Products’ labels, Plaintiff Gamboa would consider buying the

Products in the future.




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Plaintiff Koenig’s Purchase of the Product

       111.    Plaintiff Koenig is a citizen of New York and resides in Orange County.

       112.    For two years or more during the Class Period, Plaintiff Koenig purchased

Conagra’s Products in New York.

       113.    In or around December 2021, Plaintiff Koenig most recently purchased Conagra’s

smart pop! Butter at a Shop Rite located in Chester, New York.

       114.    Plaintiff Koenig purchased the Products approximately every six to eight months.

       115.    Prior to purchasing the Products, Koenig reviewed the Products’ labels and relied

on Conagra’s Natural Ingredient Representations thereon.

       116.    In reasonable reliance on the Natural Ingredient Representations, Plaintiff Koenig

paid an increased cost for the Products, which were worth less than represented because the

statements were not true and were highly misleading.

       117.    Conagra’s Natural Ingredient Representations were part of the basis of the bargain

in that Plaintiff Koenig attributed value to Conagra’s representations and Plaintiff Koenig would

not have purchased the Products, or would not have purchased them on the same terms, if he knew

the Natural Product Promises were untrue and/or misleading.

       118.    Plaintiff Koenig paid a price premium for empty promises that the Products were

free of harmful chemicals. Should Plaintiff Koenig encounter any of the Products in the future, he

cannot rely on the truthfulness of the labels’ statements absent corrective advertising. If Conagra

takes corrective action to ensure the truthfulness of the Natural Ingredient Representations and/or

correct the Products’ labels, Plaintiff Koenig would consider buying the Products in the future.

Plaintiff McGlone’s Purchase of the Product

       119.    Plaintiff McGlone is a citizen of Florida and resides in Clay County.




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       120.    For two years or more during the Class Period, Plaintiff McGlone purchased

Conagra’s Products in Florida.

       121.    In or around March 2022, Plaintiff McGlone most recently purchased Conagra’s

Movie Theatre Butter Microwave Popcorn at a Walmart located in Middleburg, Florida.

       122.    Plaintiff McGlone purchased the Products roughly every two weeks.

       123.    Prior to purchasing the Products, McGlone reviewed the Products’ labels and relied

on Conagra’s Natural Ingredient Representations thereon.

       124.    In reasonable reliance on the Natural Ingredient Representations, Plaintiff McGlone

paid an increased cost for the Products, which were worth less than represented because the

statements were not true and were highly misleading.

       125.    Conagra’s Natural Ingredient Representations were part of the basis of the bargain

in that Plaintiff McGlone attributed value to Conagra’s representations and Plaintiff McGlone

would not have purchased the Products, or would not have purchased them on the same terms, if

she knew the Natural Ingredient Representations were untrue and/or misleading.

       126.    Plaintiff McGlone paid a price premium for empty promises that the Products were

free of harmful chemicals. Should Plaintiff McGlone encounter any of the Products in the future,

she cannot rely on the truthfulness of the labels’ statements absent corrective advertising. If

Conagra takes corrective action to ensure the truthfulness of the Natural Product Promises and/or

correct the Products’ labels, Plaintiff McGlone would consider buying the Products in the future.


   INJURY TO THE PUBLIC AT-LARGE AND POTENTIAL FOR FUTURE HARM

       127.    Conagra’s wrongful conduct harms the public-at-large.




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       128.    PFAS chemicals, also known as “forever chemicals,” are a category of highly

persistent and potentially human-made chemicals that have been associated with numerous

negative health effects for humans and harmful environmental impacts.

       129.    PFAS chemicals known to negatively impact the human body and the environment

including, but not limited to, decreased fertility, developmental effects or delays in children,

increased risk of cancers, liver damage, increased risk of asthma and thyroid disease, adverse

impacts on the immune system, interference with hormones and increased cholesterol levels.

       130.    Because Conagra’s deceptive advertising is ongoing and directed to the public, and

because Conagra continues to sell its Products containing PFAS chemicals, the deception poses an

ongoing risk to the public.

       131.    As such, a public injunction must be provided in order to enjoin Conagra’s

continued harm of consumers and the public-at-large.


              TOLLING AND ESTOPPEL OF STATUTE OF LIMITATIONS

       132.    Conagra has had actual knowledge since at least 2006 that its Products contained

unnatural, human-made PFAS chemicals which pose a risk of harm to human health.

       133.    Although Conagra was aware of the deception in its advertising, marketing,

packaging, and sale of its Products given the inclusion of PFAS chemicals, it took no steps to

disclose to Plaintiffs or Class Members that its Products contained PFAS chemicals.

       134.    Despite its knowledge, Conagra has fraudulently misrepresented the Products as

having qualities and characteristics they do not, while concealing the fact that its Products contain

PFAS chemicals.




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       135.    Conagra made, and continues to make, affirmative false statements and

misrepresentations to consumers, to promote sales of its Products, including its Natural Ingredient

Representations.

       136.    Conagra misrepresented and concealed material facts that would have been

important to Plaintiffs and Class Members in deciding whether to purchase the Products.

Conagra’s misrepresentation and concealment was knowing, and it intended to, and did, deceive

reasonable consumers, including Plaintiffs and Class Members. Accordingly, Plaintiffs and Class

Members reasonably relied upon Conagra’s misrepresentations and concealment of these material

facts and suffered injury as a proximate result of that justifiable reliance.

       137.    The PFAS chemicals in the design and/or manufacture of Conagra’s Products was

not reasonably detectible to Plaintiffs and Class Members.

       138.    At all times, Conagra actively and intentionally misrepresented the qualities and

characteristics of the Products, while concealing the existence of the PFAS chemicals and failing

to inform Plaintiffs or Class Members of the existence of the PFAS chemicals in its Products.

Accordingly, Plaintiffs’ and Class Members’ lack of awareness was not attributable to a lack of

diligence on their part.

       139.    Conagra’s statements, words, and acts were made for the purpose of deceiving the

public, and suppressing the truth that the Products contained unnatural, human-made PFAS

chemicals.

       140.    Conagra misrepresented the Products and concealed the PFAS chemicals for the

purpose of delaying Plaintiffs and Class Members from filing a complaint on their causes of action.

       141.    As a result of Conagra’s intentional misrepresentations and active concealment of

the PFAS chemicals and/or failure to inform Plaintiffs and Class Members of the PFAS chemicals,




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any and all applicable statutes of limitations otherwise applicable to the allegations herein have

been tolled. Furthermore, Conagra is estopped from relying on any statutes of limitations in light

of its intentional misrepresentations and active concealment of the inclusion of unnatural, human-

made PFAS chemicals in the Products.

       142.    Further, the causes of action alleged herein did not occur until Plaintiffs and Class

Members discovered that the Products contained PFAS chemicals. Plaintiffs and Class Members

had no realistic ability to discern that the Products contained PFAS chemicals until they learned

of the existence of the PFAS chemicals. In either event, Plaintiffs and Class Members were

hampered in their ability to discover their causes of action because of Conagra’s active

concealment of the existence and true nature of the PFAS Popcorn Products.


                             FED. R. CIV. P. 9(b) ALLEGATIONS

       143.    Although Conagra is in the best position to know what content it placed on its

packaging, website(s), and social media sites during the relevant timeframe, and the knowledge

that it had regarding the PFAS chemicals and its failure to disclose the existence of PFAS

chemicals in the Products to Plaintiffs and consumers, to the extent necessary, Plaintiffs satisfy the

requirements of Rule 9(b) by alleging the following facts with particularity:

       144.    WHO: Conagra made its Natural Ingredient Representations on the Products’

packaging, online, and its marketing and advertising of the Products.

       145.    WHAT: Conagra’s conduct here was, and continues to be, deceptive and fraudulent

because of its Natural Ingredient Representations. Thus, Conagra’s conduct deceived Plaintiffs

and Class Members into believing that the Products were manufactured and sold with the

represented qualities. Conagra knew or should have known this information is material to




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reasonable consumers, including Plaintiffs and Class Members in making their purchasing

decisions, yet it continued to pervasively market the Products as possessing qualities they do not.

       146.    WHEN: Conagra made material misrepresentations, false statements and/or

omissions during the putative Class periods and at the time Plaintiffs and Class Members

purchased the Products, prior to and at the time Plaintiffs and Class Members made claims after

realizing the Products contained unnatural, human-made chemicals, and continuously throughout

the applicable Class periods.

       147.    WHERE: Conagra’s marketing message was uniform and pervasive, carried

through false statements, misrepresentations, and/or omissions on the Products’ packaging, as well

as on website(s) and social media accounts used to market and advertise the Products.

       148.    HOW: Conagra made false statements, misrepresentations and/or material

omissions regarding the presence of PFAS chemicals in the Products.

       149.    WHY: Conagra made false statements, misrepresentations and/or material

omissions detailed herein for the express purpose of inducing Plaintiffs, Class Members, and all

reasonable consumers to purchase and/or pay for the Products over other brands that did not make

similar Natural Ingredient Representations, the effect of which was that Conagra profited by

selling the Products to many thousands of consumers.

       150.    INJURY: Plaintiffs and Class Members purchased, paid a premium, or otherwise

paid more for the Products when they otherwise would not have, absent Conagra’s

misrepresentations, false and misleading statements.




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                              CLASS ACTION ALLEGATIONS

       151.    Plaintiffs bring this action individually and as representatives of all those similarly

situated, pursuant to Fed. R. Civ. P. 23, on behalf of themselves and the members of the following

proposed nationwide class (“Nationwide Class”):

       During the fullest period allowed by law, all persons who purchased the Products in
       the United States within the applicable statute of limitations for personal use and not
       resale, until the date notice is disseminated


       152.    Plaintiffs bring this action individually and as representatives of all those similarly

situated, pursuant to Fed. R. Civ. P. 23, on behalf of themselves and the members of the following

proposed nationwide class (“Multi-State Consumer Protection Class”)

       During the fullest period allowed by law, all persons who purchased the Products in
       the States of California, Florida, Illinois, New York, Massachusetts, Michigan,
       Minnesota, Missouri, New Jersey, Washington or any state with similar laws47 within
       the applicable statute of limitations for personal use and not resale, until the date
       notice is disseminated.


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   While discovery may alter the following, Plaintiffs assert that the other states with similar
consumer fraud laws under the facts of this case include, but are not limited to: Arkansas (Ark.
Code § 4-88-101, et seq.); Colorado (Colo. Rev. Stat. § 6-1-101, et seq.); Connecticut (Conn. Gen.
Stat. § 42-110, et seq.); Delaware (Del. Code tit. 6, § 2511, et seq.); District of Columbia (D.C.
Code § 28-3901, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Hawaii (Haw. Rev. Stat. § 480-1,
et seq.); Idaho (Idaho Code § 48-601, et seq.); Illinois (815 ICLS § 505/1, et seq.); Maine (Me.
Rev. Stat. tit. 5 § 205-A, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan
(Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo.
Rev. Stat. § 407.010, et seq.); Montana (Mo. Code. § 30-14-101, et seq.); Nebraska (Neb. Rev.
Stat. § 59 1601, et seq.); Nevada (Nev. Rev. Stat. § 598.0915, et seq,); New Hampshire (N.H. Rev.
Stat. § 358-A:1, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New Mexico (N.M. Stat. § 57-
12-1, et seq.); New York (N.Y. Gen. Bus. Law § 349, et seq.); North Dakota (N.D. Cent. Code §
51-15-01, et seq.); Oklahoma (Okla. Stat. tit. 15, § 751, et seq.); Oregon (Or. Rev. Stat. § 646.605,
et seq.); Rhode Island (R.I. Gen. Laws § 6-13.1-1, et seq.); South Dakota (S.D. Code Laws § 37-
24-1, et seq.); Texas (Tex. Bus. & Com. Code § 17.41, et seq.); Virginia (VA Code § 59.1-196, et
seq.); Vermont (Vt. Stat. tit. 9, § 2451, et seq.); Washington (Wash. Rev. Code § 19.86.010, et
seq.); West Virginia (W. Va. Code § 46A-6- 101, et seq.); and Wisconsin (Wis. Stat. § 100.18, et
seq.). See Mullins v. Direct Digital, LLC, No. 13-cv-1829, 2014 WL 5461903 (N.D. Ill. Sept. 30,
2014), aff’d, 795 F.3d 654 (7th Cir. 2015).




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       153.    Plaintiff Richburg brings this action individually and as a representative of all those

similarly situated, pursuant to Fed. R. Civ. P. 23, on behalf of herself and the members of the

following subclass (“Illinois Class”):

          During the fullest period allowed by law, all persons who purchased the
          Products in the State of Illinois within the applicable statute of limitations
          for personal use and not resale, until the date notice is disseminated.

       154.    Plaintiff Gamboa brings this action individually and as a representative of all those

similarly situated, pursuant to Fed. R. Civ. P. 23, on behalf of herself and the members of the

following subclass (“California Class”):

          During the fullest period allowed by law, all persons who purchased the
          Products in the State of California within the applicable statute of
          limitations for personal use and not resale, until the date notice is
          disseminated.

       155.    Plaintiff Koenig brings this action individually and as a representative of all those

similarly situated, pursuant to Fed. R. Civ. P. 23, on behalf of himself and the members of the

following subclass (“New York Class”):

          During the fullest period allowed by law, all persons who purchased the
          Products in the State of New York within the applicable statute of
          limitations for personal use and not resale, until the date notice is
          disseminated.

       156.    Plaintiff McGlone brings this action individually and as a representative of all those

similarly situated, pursuant to Fed. R. Civ. P. 23, on behalf of herself and the members of the

following subclass (“Florida Class”):

          During the fullest period allowed by law, all persons who purchased the
          Products in the State of Florida within the applicable statute of
          limitations for personal use and not resale, until the date notice is
          disseminated.

       157.    Specifically excluded from these definitions are: (1) Conagra, any entity in which

Conagra has a controlling interest, and its legal representatives, officers, directors, employees,



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assigns and successors; (2) the Judge to whom this case is assigned and any member of the Judge’s

staff or immediate family; and (3) Class Counsel. Plaintiffs reserve the right to amend the Class

definition as necessary.

       158.    Numerosity: The Members of the Class are so numerous that joinder of all members

is impracticable. While the exact number of Class Members is presently unknown, it likely consists

of at least thousands of people throughout the United States, as well as in each of the following

states: California, Florida, Illinois, and New York. The number of Class Members can be

determined by sales information and other records. Moreover, joinder of all potential Class

Members is not practicable given their numbers and geographic diversity. The Class is readily

identifiable from information and records in the possession of Conagra.

       159.    Typicality: The claims of the representative Plaintiffs are typical in that Plaintiffs,

like all Class Members, purchased the Products that were designed, manufactured, marketed,

advertised, distributed, and sold by Conagra. Plaintiffs, like all Class Members, have been

damaged by Conagra’s misconduct in that, inter alia, they have incurred or will continue to incur

damage as a result of overpaying for a product containing PFAS chemicals which are known to

pose a risk of harm to the human body. Furthermore, the factual basis of Conagra’s misconduct is

common to all Class Members because Conagra has engaged in systematic deceptive and

fraudulent behavior that was deliberate and results in the same injury to all Class Members.

       160.    Commonality: Common questions of law and fact exist as to all Members of the

Class. These questions predominate over questions that may affect only individual Class Members

because Conagra has acted on grounds generally applicable to the Class. Such common legal or

factual questions include, inter alia:

         a.    Whether the Products contain PFAS chemicals;




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         b.    Whether Conagra misrepresented that the Products contain only real and naturally-
               sourced ingredients;

         c.    Whether Conagra’s practices in marketing, advertising and packaging the Products
               tend to mislead reasonable consumers into believing that the Products are only
               made with real ingredients and ingredients from natural sources;

         d.    Whether Conagra omitted or failed to disclose material information to Plaintiffs
               and Class Members regarding the Products;

         e.    Whether Conagra concealed from and/or failed to disclose to Plaintiffs and Class
               Members that the Products contained PFAS chemicals;

         f.    Whether Conagra’s breached express warranties relating to the Products;

         g.    Whether Conagra breached the implied warranty of merchantability relating to the
               Products;

         h.    Whether Conagra engaged in deceptive trade practices by selling, packaging,
               advertising and/or marketing the Products containing PFAS chemicals;

         i.    Whether Conagra engaged in false or misleading advertising by selling,
               packaging, and/or marketing the Products containing PFAS chemicals;

         j.    Whether Plaintiffs and Class Members are entitled to damages, including
               compensatory, exemplary, and statutory damages, and the amount of such
               damages;

         k.    Whether Plaintiffs and Class Members either paid a premium for the Products that
               they would not have paid but for its false Natural Ingredient Representations or
               would not have purchased them at all;

         l.    Whether Plaintiffs and the other Class Members have been injured and the proper
               measure of their losses as a result of those injuries; and

         m.    Whether Plaintiffs and the other Class Members are entitled to injunctive,
               declaratory, or other equitable relief.

       161.    Adequate Representation: Plaintiffs will fairly and adequately protect the interests

of Class Members. They have no interests antagonistic to those of Class Members. Plaintiffs

retained attorneys experienced in the prosecution of class actions, including consumer products,

misrepresentation, mislabeling, and PFAS chemicals class actions, and Plaintiffs intend to

prosecute this action vigorously.


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        162.    Injunctive/Declaratory Relief: The elements of Rule 23(b)(2) are met. Conagra will

continue to commit the unlawful practices alleged herein, and Plaintiffs and Class Members will

continue to be deceived by Conagra’s Natural Ingredient Representations and PFAS Omissions

and unknowingly be exposed to the risk of harm associated with the PFAS chemicals in the

Products. Conagra has acted and refused to act on grounds that apply generally to the Class, such

that final injunctive relief, public injunctive relief, and corresponding declaratory relief are

appropriate respecting the Class as a whole. Injunctive relief, and specifically public injunctive

relief, is necessary in this action.

        163.    Predominance and Superiority: Plaintiffs and Class Members have all suffered and

will continue to suffer risk of harm and damages as a result of Conagra’s unlawful and wrongful

conduct. A class action is superior to other available methods for the fair and efficient adjudication

of the controversy. Absent a class action, Class Members would likely find the cost of litigating

their claims prohibitively high given the average price point of the Products and would therefore

have no effective remedy at law. Because of the relatively small size of Class Members’ individual

claims, it is likely that few Class Members could afford to seek legal redress for Conagra’s

misconduct. Absent a class action, Class Members will continue to incur damages, and Conagra’s

misconduct will continue without remedy. Class treatment of common questions of law and fact

would also be a superior method to multiple individual actions or piecemeal litigation in that class

treatment will conserve the resources of the courts and the litigants and will promote consistency

and efficiency of adjudication.

        164.    Plaintiffs know of no difficulty to be encountered in the maintenance of this action

that would preclude its maintenance as a class action.




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        165.    Conagra has acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief or corresponding declaratory relief with respect

to the Class appropriate.

                                      COUNT I
                              VIOLATION OF THE
     ILLINOIS CONSUMER FRAUD AND DECEPTIVE TRADE PRACTICES ACT
               (On Behalf of Plaintiff Richburg and the Illinois Class)

        166.    Plaintiff Richburg, individually and on behalf of the Illinois Class, brings this cause

of action and hereby adopt and incorporate by reference all allegations contained in Paragraphs 1-

165 as if set fully set forth herein.

        167.    In Illinois, the “Consumer Fraud and Deceptive Business Practices Act” 815 Ill.

Comp. Stat. 505/1, et seq., prohibits “unfair methods of competition and unfair or deceptive acts

or practices, including but not limited to the use or employment of any deception, fraud, false

pretense, false promise, misrepresentation or the concealment, suppression or omission of any

material fact, with intent that others rely upon the concealment, suppression or omission of such

material fact or the use or employment of any practice described in Section 2 of the ‘Uniform

Deceptive Trade Practices Act’ . . . .”

        168.    Plaintiff Richburg and the Illinois Class Members were injured by Defendant’s

deceptive misrepresentations, concealments and omissions and these misrepresentations,

concealments and omissions were material and deceived Plaintiff and the Class. Because Plaintiff

and Class Members relied on Defendant’s misrepresentations, concealments and omissions when

purchasing Defendant’s Products, they were injured at the time of purchase.

        169.    Defendant does business in Illinois, sells and distributes the Products in Illinois,

and engaged in deceptive acts and practices in connection with the sale of the Products in Illinois

and elsewhere in the United States.



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       170.     The Products purchased by Plaintiff Richburg and Illinois Class Members were

“consumer items” as that term is defined under the Illinois Consumer Fraud Act.

       171.     Defendant engaged in unfair and deceptive acts in violation of 815 Ill. Comp. Stat.

505/2 when it misrepresented and deceptively concealed, suppressed and/or omitted the material

information known to Defendant as set forth above concerning the Products, which has caused

damage and injury to Plaintiff Richburg and Illinois Class Members. Plaintiff Richburg and Illinois

Class Members were injured by Defendant’s unfair and deceptive acts at the time of purchasing

the Products.

       172.     Defendant represented, directly or indirectly, that the Products are made with

“100% ingredients from natural sources” and “only real ingredients,” when, in reality, they contain

unnatural, human-made PFAS chemicals known to be harmful to humans and the environment.

       173.     Defendant failed to disclose in their advertising statements the material fact that the

Products are packaged in bags containing significant levels of PFAS chemicals that, when prepared

according the package instructions, are known to migrate into the Products where they are then

ingested by consumers.

       174.     Defendant knew or should have known that their representations regarding the

Products were false and misleading, and that by omitting and failing to disclose in their advertising

the presence of PFAS chemicals in their Products’ packaging, they were omitting material facts

that would alter any reasonable consumer’s decision to purchase the Products.

       175.     Defendant’s deceptive acts occurred in a course of conduct involving trade and

commerce in Illinois and throughout the United States.

       176.     Defendant intended Plaintiff Richburg and Illinois Class Members to rely on their

deceptive acts when purchasing Defendant’s Products.




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        177.    Defendant’s deceptive acts proximately caused actual injury and damage to

Plaintiff Richburg and Illinois Class Members at the time of purchase.

        178.    Plaintiff Richburg and Illinois Class Members not have purchased, or would have

paid less for, Defendant’s Products marketed as containing only natural ingredients but for

Defendant’s material misrepresentations as described in this Complaint.

                                         COUNT II
                                  VIOLATION OF THE
               ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                   (On Behalf of Plaintiff Richburg and the Illinois Class)

        179.    Plaintiff Richburg, individually and on behalf of the Illinois Class, brings this cause

of action and hereby adopt and incorporate by reference all allegations contained in Paragraphs 1-

178 as if set fully set forth herein.

        180.    The Illinois Deceptive Trade Practices Act (“UDTPA”), 815 Ill. Comp. Stat. 510/2,

et seq., prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices,

including but not limited to the use or employment of any deception, fraud, false pretense, false

promise, misrepresentation or the concealment, suppression or omission of any material fact, with

intent that others rely upon the concealment, suppression or omission of such material fact.”

        181.    815 ILCS 510/2 provides in pertinent part that a “person engages in a deceptive

trade practice when, in the course of his or her business, vocation, or occupation,” the person does

any of the following: “(5) represents that goods or services have . . . uses, benefits or quantities

that they do not have . . .; (7) represents that goods or services are of a particular standard, quality,

or grade or that goods are a particular style or model, if they are of another; . . . [or] (12) engages

in any other conduct which similarly creates a likelihood of confusion or misunderstanding.”

        182.    Defendant engaged in unfair and deceptive acts in violation of 815 Ill. Comp. Stat.

510/2 when they misrepresented and deceptively concealed, suppressed and/or omitted the



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material information known to Defendant as set forth above concerning the Products which has

caused damage and injury to Plaintiff Richburg and the Illinois Class Members. Plaintiff Richburg

and the Illinois Class Members were injured by Defendant’s unfair and deceptive conduct at the

time of purchasing Defendant’s Products.

       183.    Defendant    represented,   directly   or   indirectly,   the   Natural   Ingredient

Representations when, in reality, the Products contain unnatural, human-made PFAS chemicals

known to be harmful to humans and the environment.

       184.    Defendant failed to disclose in its advertising statements the material fact that the

Products are packaged in bags containing significant levels of PFAS chemicals that, when prepared

according the package instructions, are known to migrate into the Products where they are then

ingested by consumers.

       185.    Defendant knew or should have known that its representations regarding the

Products were false and misleading, and that by omitting and failing to disclose in its advertising

the presence of PFAS chemicals in its Products’ packaging, it was omitting material facts that

would alter any reasonable consumer’s decision to purchase the Products.

       186.    Defendant’s deceptive acts occurred in a course of conduct involving trade and

commerce in Illinois and throughout the United States.

       187.    Defendant’s deceptive acts proximately caused actual injury and damage to

Plaintiff and the Class Members at the time of purchase.

       188.    Plaintiff Richburg and Illinois Class Members would not have purchased, or would

have paid less for, Defendant’s Products marketed as containing only natural ingredients but for

Defendant’s material misrepresentations as described in this Complaint.




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       189.     Defendant intended Plaintiff Richburg and all Illinois Class Members to rely on its

deceptive acts when purchasing the Products.

                                            COUNT III
              Violation of the California Consumer Legal Remedies Act (“CLRA”)
                               California Civil Code §§ 1750, et seq.
                    (On Behalf of Plaintiff Gamboa and the California Class)

       190.     Plaintiff Gamboa, individually and on behalf of the California Class, brings this

cause of action and hereby adopt and incorporate by reference all allegations contained in

Paragraphs 1-189 as if set fully set forth herein.

       191.     The conduct described herein took place in the State of California and constitutes

unfair methods of competition or deceptive acts or practices in violation of the Consumer Legal

Remedies Act (“CLRA”), California Civil Code §§ 1750, et seq.

       192.     The CLRA applies to all claims of Plaintiff Gamboa and California Class Members

because the conduct which constitutes violations of the CLRA by Defendant occurred within the

State of California.

       193.     Plaintiff Gamboa and California Class Members are “consumers” as defined by

Civil Code § 1761(d).

       194.     Defendant is a “person” as defined by California Civil Code § 1761(c).

       195.     The Products qualify as “goods” as defined by California Civil Code § 1761(a).

       196.     Plaintiff Gamboa’s and the California Class Members’ purchases of PFAS Popcorn

Products are “transactions” as defined by California Civil Code § 1761(e).

       197.     As set forth below, the CLRA deems the following unfair methods of competition

and unfair or deceptive acts or practices undertaken by any person in a transaction intended to

result or which does result in the sale or lease of goods or services to any consumer unlawful:




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               a.      “Representing that goods...have sponsorship, approval, characteristics,
                       ingredients, uses, benefits, or qualities which they do not have.” Civil Code
                       § 1770(a)(5); and

               b.      “Representing that goods...are of a particular standard, quality, or grade, or
                       that goods are of a particular style or model, if they are of another.” Civil
                       Code § 1770(a)(7).

       198.    Defendant engages in unfair competition and/or unfair or deceptive acts or practices

in violation of California Civil Code §§ 1770(a)(5) and (a)(7) when it represented through its

advertising and other express representations, including the Natural Ingredient Representations,

that its Products have benefits or characteristics that they do not actually have.

       199.    As detailed in this Complaint, Defendant repeatedly engaged in conduct deemed a

violation of the CLRA, has made representations regarding the Products’ benefits or characteristics

that they do not in fact have, and has represented the Products to be of a quality that they are not.

Indeed, Defendant has concealed this information from consumers, including Plaintiff Gamboa

and California Class Members.

       200.    The Products are not made with “only real ingredients” or “100% ingredients from

natural sources.” As detailed above, Defendant violated the CLRA when it falsely represented that

the Products meet a certain standard or quality.

       201.    Further, Defendant’s practice of advertising the Products with the intent not to sell

them as advertised, and the knowledge that the Products are not as represented, violates the CLRA.

       202.    Specifically, Defendant marketed and represented with the Natural Ingredient

Representations when, in reality, the Products contain unnatural, harmful, and human-made PFAS

chemicals.

       203.    Defendant’s deceptive practices are specifically designed to induce consumers,

including Plaintiff Gamboa and California Class Members, to purchase or otherwise acquire the

Products.


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       204.    Defendant engages in uniform marketing, advertising, and packaging to reach

consumers, including Plaintiff Gamboa. California Class Members, their agents, and/or third

parties upon whom they rely, to persuade them to purchase and use the Products manufactured by

Defendant. Defendant’s advertising, marketing, websites, social media sites and packaging contain

numerous false and misleading statements relating to the quality of and ingredients contained

within the Products. These include, inter alia, representations that the Products contain “only real

ingredients” and “100% ingredients from natural sources.”

       205.    Despite these representations, Defendant omits and conceals information and

material facts from consumers.

       206.    Consumers, including Plaintiff Gamboa and California Class Members, relied on

Defendant’s representations when they purchased the Products.

       207.    These business practices are misleading and/or likely to mislead consumers and

should be enjoined.

       208.    On May 6, 2022, Plaintiff Gamboa provided written notice to Defendant via

certified mail through the United States Postal Service demanding corrective actions pursuant to

the CLRA, but Defendant failed to take any corrective action.

       209.    If Defendant does not thereafter correct its business practices, Plaintiffs will amend

(or seek leave to amend) the Complaint to add claims for monetary relief, including restitution and

actual damages under the CLRA.

       210.    Pursuant to California Civil Code § 1780, Plaintiff Gamboa and Class Members

seek an order enjoining Conagra from the unlawful practices described above, a declaration that

Conagra’s conduct violates the Consumer Legal Remedies Act, reasonable attorneys’ fees and

litigation costs, and any other relief authorized by CLRA that the Court deems proper.




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                                           COUNT IV
                   Violation of the California False Advertising Law (“FAL”)
                             California Civil Code §§ 17500, et seq.
                   (On Behalf of Plaintiff Gamboa and the California Class)

       211.    Plaintiff Gamboa, individually and on behalf of the California Class, brings this

cause of action and hereby adopt and incorporate by reference all allegations contained in

Paragraphs 1-210 as if set fully set forth herein.

       212.    The conduct described herein took place in the State of California and constitutes

deceptive or false advertising in violation of Cal. Bus. & Prof. Code §§ 17500, et seq.

       213.    The FAL provides that “[i]t is unlawful for any person, firm, corporation or

association, or any employee thereof with intent directly or indirectly to dispose of real or personal

property or to perform services” to disseminate any statement “which is untrue or misleading, and

which is known, or which by the exercise of reasonable care should be known, to be untrue or

misleading.” Cal. Bus. & Prof. Code § 17500.

       214.    It is also unlawful under the FAL to make or disseminate any advertisement that is

“untrue or misleading, and which is known, or which by the exercise of reasonable care should be

known, to be untrue or misleading.” Id.

       215.    Defendant represents to consumers, including Plaintiff Gamboa and California

Class Members, in its marketing and advertising and on its Products’ packages that the Products

are made with “only real ingredients” and “100% ingredients from natural sources” when, in

reality, they contain unnatural, human-made PFAS chemicals known to be harmful to humans and

the environment.

       216.    At the time of its misrepresentations, Defendant was aware that the Products

contained PFAS chemicals.




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       217.   Defendant concealed, omitted, or otherwise failed to disclose the true nature of its

Products to consumers, including Plaintiff Gamboa and California Class Members.

       218.   Defendant’s descriptions of its Products are false, misleading, and likely to deceive

reasonable consumers, and did mislead Plaintiff Gamboa and California Class Members.

       219.   Defendant’s conduct therefore constitutes deceptive or misleading advertising

under the FAL.

       220.   Plaintiff Gamboa has standing to pursue claims under the FAL as she reviewed and

relied on Defendant’s representations regarding its Products when choosing and purchasing the

Products.

       221.   In reliance on the statements made in Defendant’s advertising and marketing

materials and on the Products’ packaging, and Defendant’s omissions and concealment of material

facts regarding the Products, Plaintiff Gamboa and California Class Members purchased the

Products.

       222.   Had Defendant disclosed the true nature of the Products, specifically the presence

of unnatural, human-made, harmful PFAS chemicals, Plaintiff Gamboa and California Subclass

Members would not have purchased the Products or would have paid substantially less for them.

       223.   As a direct and proximate result of Defendant’s actions, as set forth herein,

Defendant has received ill-gotten gains and/or profits, including but not limited to money from

Plaintiff Gamboa and California Class Members who paid for the Products containing PFAS

chemicals.

       224.   Plaintiff Gamboa and California Class Members seek injunctive relief, restitution,

and disgorgement of any monies wrongfully acquired or retained by Defendant by means of its

deceptive or misleading representations, including monies already obtained from Plaintiffs and




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California Class Members as provided for by the Cal. Bus. & Prof. Code § 17500, and as

appropriate, on behalf of the general public, seeks injunctive relief prohibiting Defendant from

continuing these wrongful practices, and any other relief authorized by the FAL that the Court

deems proper.

                                          COUNT V
                Violations of the California Unfair Competition Law (“UCL”)
                           Cal. Bus. & Prof. Code §§ 17200, et seq.
                  (On Behalf of Plaintiff Gamboa and the California Class)

       225.     Plaintiff Gamboa, individually and on behalf of the California Class, brings this

cause of action and hereby adopt and incorporate by reference all allegations contained in

Paragraphs 1-224 as if set fully set forth herein.

       226.     Defendant is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

       227.     Consumers, including Plaintiff Gamboa and California Class Members, who

purchased the Products, suffered an injury by virtue of buying products for which Defendant

misrepresented and/or omitted the Products’ true qualities and ingredients. Had Plaintiff Gamboa

and California Class Members known that Defendant falsely and materially misrepresented the

Products and/or omit material information regarding the Products and their ingredients, they would

not have purchased the Products.

       228.     Defendant’s conduct, as alleged herein, violates the laws and public policies of the

State of California and the federal government, as set out in the preceding paragraphs of this

Complaint.

       229.     There is no benefit to consumers or competition by allowing Defendant to

deceptively market and advertise the Products.

       230.     Plaintiff Gamboa and California Class Members who purchased the Products have

no way of reasonably knowing that the Products are deceptively marketed and advertised; do not



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have the qualities they are represented to possess; contain ingredients that are not natural and/or

naturally sourced; and are unsuitable for their intended use. Thus, Plaintiff Gamboa and California

Class Members could not have reasonably avoid the harm they suffered.

       231.    Specifically, Defendant marketed, advertised and represented that the Products

were made with only “real ingredients” or “100% ingredients from natural sources,” when in fact

the Products contain potentially harmful, unnatural, human-made PFAS chemicals.

       232.    The gravity of harm suffered by Plaintiff Gamboa and California Class Members

who purchased the Products will suffer outweighs any legitimate justification, motive, or reason

for marketing, advertising, or packaging the Products in a deceptive and misleading manner.

Accordingly, Defendant’s actions are immoral, unethical, unscrupulous, and offend the established

public policies of the State of California and the federal government. Defendant’s actions are

substantially injurious to consumers, Plaintiff Gamboa and California Class Members.

       233.    Defendant’s dissemination of the above-described misleading and deceptive

representations to consumers throughout the State of California, including to Plaintiff Gamboa and

California Class Members, were and are likely to deceive reasonable consumers by obfuscating

the true nature of Defendant’s Products, and thus constitute violations of Cal. Bus. & Prof. Code

§§ 17500, et seq.

       234.    As a result of Defendant’s unlawful, unfair and fraudulent acts and practices,

Plaintiff Gamboa, on behalf of herself and the California Class, and as appropriate, on behalf of

the general public, seeks injunctive relief prohibiting Defendant from continuing these wrongful

practices, and such other equitable relief, including full restitution of all improper revenues and

ill-gotten profits derived from Defendant’s wrongful conduct to the fullest extent permitted by law,

and any other relief authorized by UCL that the Court deems proper.




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                                           COUNT VI
                        Violations of New York’s Deceptive Practices Act,
                                    N.Y. Gen. Bus. Law § 349
              (Plaintiff Koenig Individually and on Behalf of the New York Class)

       235.     Plaintiff Koenig, individually and on behalf of the New York Class, brings this

cause of action and hereby adopt and incorporate by reference all allegations contained in

Paragraphs 1-234 as if set fully set forth herein.

       236.     New York General Business Law (“GBL”) § 349 declares unlawful “[d]eceptive

acts or practices in the conduct of any business, trade or commerce...” GBL § 349(a).

       237.     In its sale of goods throughout New York, Defendant conducts business and trade

within the meaning and intention of GBL § 349.

       238.     The practices alleged herein—namely, deceiving customers into believing that the

Products contained only ingredients from natural sources—are unfair, deceptive, and misleading

in violation of GBL § 349.

       239.     The foregoing deceptive acts and practices were directed at Plaintiff Koenig and

other members of the New York Class.

       240.     Defendant’s misrepresentations regarding the Products are material to a reasonable

consumer because they relate to the content and ingredients of the Products. A reasonable

consumer attaches importance to such representations and is induced to act thereon in making

purchase decisions.

       241.     Plaintiff Koenig and members of the New York Class have been injured as a direct

and proximate result of Defendant’s unlawful acts as they would not have purchased, or would

have paid less for, Defendant’s Products marketed as containing only natural ingredients but for

Defendant’s material misrepresentations as described in this Complaint.




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       242.     As a result of Defendant’s unlawful action, Plaintiff Koenig and members of the

New York Class seek to enjoin Defendant’s deceptive and unlawful acts and practices described

herein; to recover the greater of their actual damages or fifty dollars; and to recover treble damages,

reasonable attorneys’ fees, and all other remedies this Court deems proper.

                                          COUNT VII
                        Violations of New York’s Deceptive Practices Act,
                                    N.Y. Gen. Bus. Law § 350
              (Plaintiff Koenig Individually and on Behalf of the New York Class)

       243.     Plaintiff Koenig, individually and on behalf of the New York Class, brings this

cause of action and hereby adopt and incorporate by reference all allegations contained in

Paragraphs 1-242 as if set fully set forth herein.

       244.     GBL § 350 provides in relevant part: “False advertising in the conduct of any

business, trade or commerce . . . in this state is hereby declared unlawful.”

       245.     In turn, GBL § 350-a defines false advertising as:

                “advertising, including labeling, of a commodity...if such advertising is
                misleading in a material respect. In determining whether any advertising is
                misleading, there shall be taken into account (among other things) not only
                representations made by statement, word, design, device, sound or any
                combination thereof, but also the extent to which the advertising fails to
                reveal facts material in the light of such representations with respect to the
                commodity...to which the advertising relates under the conditions
                prescribed in said advertisement, or under such conditions as are customary
                or usual.”

       246.     Defendant’s actions are untrue and materially misleading through their deceptive

packaging, marketing, and advertising of the Products, which deceives consumers into believing

the Products contain only ingredients from natural sources, when they do not.

       247.     Defendant’s misrepresentations regarding the Product are material to a reasonable

consumer because they relate to the content and ingredients of the Products. A reasonable




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consumer attaches importance to such representations and is induced to act thereon in making

purchase decisions.

        248.    Plaintiff Koenig and the New York Class Members were induced to purchase the

Products by Defendant’s misrepresentations in its packaging, advertising, and marketing.

        249.    Plaintiff Koenig and members of the New York Class have been injured as a direct

and proximate result of Defendant’s violations described above as they would not have purchased,

or would have paid less for, Defendant’s Products marketed as containing only natural ingredients

but for Defendant’s material misrepresentations as described in this Complaint.

        250.    As a result of Defendant’s unlawful action, Plaintiff Koenig and members of the

New York Class seek to enjoin Defendant’s misleading and unlawful acts and practices described

herein; to recover the greater of their actual damages or five hundred dollars per violation; and to

recover treble damages, reasonable attorneys’ fees, and all other remedies this Court deems proper.

                                         COUNT VIII
          Violations of the Florida Deceptive and Unfair Practices Act (“FDUTPA”)
                                Florida Statutes § 501.201 et seq.
             (Plaintiff McGlone Individually and on Behalf of the Florida Class)

        251.    Plaintiff McGlone, individually and on behalf of the Florida Class, brings this cause

of action and hereby adopt and incorporate by reference all allegations contained in Paragraphs 1-

250 as if set fully set forth herein.

        252.    This cause of action is brought pursuant to the Florida Deceptive and Unfair Trade

Practices Act, Fla. Stat. §501.201 et seq. (“FDUTPA”). The stated purpose of FDUTPA is to

“protect the consuming public...from those who engage in unfair methods or competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

Fla. Stat. §501.202(2).




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       253.    Plaintiff McGlone and all members of the Florida Class were, at all relevant times,

consumers, as defined by Fla. Stat. § 501.203(7).

       254.    Defendant at all relevant times was engaged in trade or commerce as defined by by

Fla. Stat. § 501.203(8).

       255.    Fla. Stat. § 501.204(1) declares unlawful “[u]nfair methods of competition,

unconscionable acts or practices, and unfair or deceptive acts or practices in the conduct of any

trade or commerce.”

       256.    Defendant engaged in unfair and deceptive acts, in violation of Fla. Stat. §

501.204(1), as described herein by, inter alia, marketed, advertised and represented that the

Products were made with only “real ingredients” or “100% ingredients from natural sources,”

when in fact the Products contain potentially harmful, unnatural, human-made PFAS chemicals.

       257.    At all times relevant to this action, Defendant was aware that the Products contained

human-made PFAS chemicals in direct contradiction to its uniform packaging, labeling, and other

marketing representations.

       258.    Defendant’s unfair and deceptive acts were likely to deceive reasonable consumers,

and in fact did deceive Plaintiff McGlone and Florida Class Members, as to the true nature of the

Products.

       259.    Defendant’s practices offend public policies and are immoral, unethical,

unscrupulous, and substantially injurious to consumers.

       260.    Plaintiff McGlone and Florida Class Members have been aggrieved by Defendant’s

unfair and deceptive practices in that they paid for the Products which they would not have

purchased, or would have paid less for, but for Defendant’s deceptive, misleading, and unfair

practices as described more fully herein.




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       261.    The damages suffered by Plaintiff McGlone and Florida Class Members were

directly and proximately caused by the deceptive, misleading and unfair practices of Defendant,

as described in this Complaint.

       262.    Pursuant to Fla. Stat. § 501.211(1), Plaintiff McGlone and Florida Class Members

seek a declaratory judgment and court order enjoining the above-described wrongful acts and

practices of Defendant, and for restitution and disgorgement.

       263.    Additionally, pursuant to Fla. Stat. §§ 501.211(2) and 501.2105, Plaintiff McGlone

and Florida Class Members make claims for damages, attorneys’ fees, and costs.

                                         COUNT IX
                     Violation of State Consumer Protection Statutes
          (On Behalf of Plaintiffs and the Multi-State Consumer Protection Class)

       264.    Plaintiffs, individually and on behalf of the Multi-State Consumer Protection Class,

bring this cause of action and hereby adopt and incorporate by reference all allegations contained

in Paragraphs 1-263 as if set fully set forth herein.

       265.    Plaintiffs and Multi-State Consumer Protection Class Members have been injured

as a result of Defendant’s violations of the state consumer protection statutes listed above in

paragraph 152 and footnote 47, which also provide a basis for redress to Plaintiffs and Multi-State

Consumer Protection Class Members based on Defendant’s fraudulent, deceptive, unfair and

unconscionable acts, practices and conduct.

       266.    Defendant’s conduct as alleged herein violates the consumer protection, unfair

trade practices and deceptive acts laws of each of the jurisdictions encompassing the Multi-State

Consumer Protection Class.

       267.    Defendant violated the Multi-State Consumer Protection Class states’ unfair and

deceptive acts and practices laws by representing that their Products are made with “100%




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ingredients from natural sources” and “only real ingredients,” when, in reality, they contain

unnatural, human-made PFAS chemicals known to be harmful to humans and the environment.

       268.    Defendant’s misrepresentations were material to Plaintiffs’ and Multi-State

Consumer Protection Class Members’ decision to purchase the Products or pay a premium for the

Products.

       269.    Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and with reckless disregard for the truth.

       270.    As a result of Defendant’s violations of the aforementioned states’ unfair and

deceptive practices laws, Plaintiffs and Multi-State Consumer Protection Class Members

purchased and paid for Products that did not conform to Defendant’s Product promotion,

marketing, advertising, packaging, and labeling, and they were deprived of the benefit of their

bargain and spent money on Products that did not have any value or had less value than warranted

or Products that they would not have purchased and used had they known the true facts about them

       271.    As a result of Defendant’s violations, Defendant has been unjustly enriched.

       272.    Pursuant to the aforementioned States’ unfair and deceptive practices laws,

Plaintiffs and Multi-State Consumer Protection Class Members are entitled to recover

compensatory damages, restitution, punitive and special damages including but not limited to

treble damages, reasonable attorneys’ fees and costs and other injunctive or declaratory relief as

deemed appropriate or permitted pursuant to the relevant law.




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                                           COUNT XI
                              Unjust Enrichment/Quasi-Contract
                        (On Behalf of Plaintiffs and the Nationwide Class)

        273.    Plaintiffs, individually and on behalf of the Nationwide Class, bring this cause of

action and hereby adopt and incorporate by reference all allegations contained in Paragraphs 1-

272 as if set fully set forth herein.

        274.    Defendant’s unfair and unlawful contract includes, among other things, making

false and misleading representations and omissions of material fact, as set forth in this Complaint.

Defendant’s acts and business practices offend the established public policy of Illinois, as there is

no societal benefit from false advertising, only harm. While Plaintiffs and Class members were

harmed at the time of purchase, Defendant was unjustly enriched by its misrepresentations and

omissions.

        275.    Plaintiffs and Class Members were harmed when purchasing Defendant’s Products

as a result of Defendant’s material representations and omissions, as described in this Complaint.

Each Plaintiff and Class Member purchased Defendant’s Products. Plaintiffs and Class Members

have suffered injury in fact and lost money as a result of paying the price they paid for the Products

as a result of Defendant’s unlawful, unfair, and fraudulent business practices.

        276.    Defendant’s conduct allows Defendant to knowingly realize substantial revenues

from selling its Products at the expense of, and to the detriment of, Plaintiffs and Class Members,

and to Defendant’s benefit and enrichment. Defendant’s retention of these benefits violates

fundamental principles of justice, equity, and good conscience.

        277.    Plaintiffs and Class Members confer significant financial benefits and pay

substantial compensation to Defendant for its Products, which are not as Defendant represents

them to be.




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       278.      Under common law principles of unjust enrichment and quasi-contract, it is

inequitable for Defendant to retain the benefits conferred by Plaintiffs’ and Class Members’

overpayments.

       279.      Plaintiffs and Class Members seek disgorgement of all profits resulting from such

overpayments and establishment of a constructive trust from which Plaintiffs and Class Members

may seek restitution.

                                           JURY DEMAND

       280.      Plaintiffs demand a trial by jury of all claims in this Complaint so triable.

                                      REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of other members of the proposed

Classes, respectfully request that the Court enter judgment in Plaintiffs’ favor and against

Defendant as follows:

       A.        Declaring that this action is a proper class action, certifying the Classes as requested

herein, designating Plaintiffs as Class Representatives and appointing the undersigned counsel as

Class Counsel;

       B.        Ordering payment of actual and punitive damages, restitution and disgorgement of

all profits and unjust enrichment that Defendant obtained from Plaintiffs and the Class Members

as a result of Defendant’s unlawful, unfair and fraudulent business practices;

       C.        Ordering injunctive relief as permitted by law or equity, including enjoining

Defendant from continuing the unlawful practices as set forth herein, and ordering Defendant to

engage in a corrective advertising campaign;

       D.        Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiffs and the

other members of the Classes;




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      E.       Ordering Defendant to pay both pre- and post-judgment interest on any amounts

awarded; and

      F.       Ordering such other and further relief as may be just and proper.



Dated: May 6, 2022                   Respectfully submitted,

                                     /s/ Melissa K. Sims
                                     Melissa K. Sims
                                     MILBERG COLEMAN BRYSON
                                     PHILLIPS GROSSMAN, PLLC
                                     111 West Jackson Boulevard, Suite 1700
                                     Chicago, IL 60604
                                     T: (815) 878-4674
                                     msims@milberg.com

                                     Melissa S. Weiner
                                     PEARSON, SIMON & WARSHAW, LLP
                                     800 LaSalle Avenue, Suite 2150
                                     Minneapolis, Minnesota 55402
                                     T: (612) 389-0600
                                     mweiner@pswlaw.com

                                     Rachel Soffin*
                                     MILBERG COLEMAN BRYSON PHILLIPS
                                     GROSSMAN PLLC
                                     800 S. Gay Street, Suite 1100
                                     Knoxville, TN 37929
                                     T: 865-247-0080
                                     F: 865-522-0049
                                     rsoffin@milberg.com

                                     Harper T. Segui
                                     MILBERG COLEMAN BRYSON PHILLIPS
                                     GROSSMAN PLLC
                                     825 Lowcountry Blvd., Suite 101
                                     Mt. Pleasant, SC 29464
                                     T: 919-600-5000
                                     hsegui@milberg.com




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                           Erin Ruben
                           MILBERG COLEMAN BRYSON PHILLIPS
                           GROSSMAN PLLC
                           900 W. Morgan Street
                           Raleigh, NC 27603
                           T: 919-600-5000
                           eruben@milberg.com

                           Rachel Dapeer
                           DAPEER LAW, P.A.
                           20900 NE 30th Ave., Suite 417
                           Aventura, FL 33180
                           T: 305-610-5223
                           rachel@dapeer.com

                           *Application to be admitted pro hac vice is forthcoming

                           Attorneys for Plaintiffs & Proposed Classes




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